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From:                "Eddy, Julie" <JEddy@amerisourcebergen.com>
Sent:                Fri, 25 Feb 2011 15:23:49 -0500 (EST)
To:                  "Zimmerman, Chris" <CZimmerman@amerisourcebergen.com>, "Mays,
                     Steve" <SMays@amerisourcebergen.com>
Subject:             Oxycontinville


Found this in a FL paper to be sung with tune from Jimmy Buffet's Margaritaville



Headin' for strip malls

Drivin' till night falls

All of these tourists, carrying cash

Lookin' for pill mills

For phantom back ills

Gettin' in line for my Florida stash

Wastin' away again in OxyContinville

Searchin' for my last doctor to shop

Some people claim that there's a gov'nor to blame

But I'm glad, he's just a corporate sop.

I drove from Kentucky

Hoped to get lucky

Stockpiling meds for me and for you

They're a real measure

Of drug-dealer treasure

How I'll drive home, I haven't a clue

Wastin' away again in OxyContinville

Searchin' for my last doctor to shop

Some people claim that there's a gov'nor to blame

But I'm glad, he's just a corporate sop.
F


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